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Exhibit D to the Declaration of Aaron S. Craig
                 April 4, 2025
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                 EXHIBIT A
                     Unredacted Version
                        of Document
                     Proposed to be Filed
                         Under Seal
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      LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
10

11    WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware
12    corporation,                                  DEFENDANTS NSO GROUP
                                                    TECHNOLOGIES LIMITED AND Q
13                                                  CYBER TECHNOLOGIES LIMITED’S
                   Plaintiffs,
                                                    RESPONSES AND OBJECTIONS TO
14                                                  PLAINTIFFS WHATSAPP, INC. AND
            v.
                                                    META PLATFORMS, INC. FKA
15                                                  FACEBOOK, INC.’S FIRST SET OF
      NSO GROUP TECHNOLOGIES LTD.
      and Q CYBER TECHNOLOGIES LTD.,                REQUESTS FOR ADMISSION
16
                   Defendants.                      HIGHLY CONFIDENTIAL-
17                                                  ATTORNEY’S EYES ONLY
18

19
      PROPOUNDING PARTY:           WHATSAPP LLC fka WHATSAPP INC. AND META
20
                                   PLATFORMS, INC. fka FACEBOOK, INC.
21
      RESPONDING PARTY:            DEFENDANTS NSO GROUP TECHNOLOGIES LIMITED
22
                                   AND Q CYBER TECHNOLOGIES LIMITED.
23
      SET NO.:                     ONE (1)
24

25
      DEFENDANTS HEREBY DESIGNATE THESE RESPONSES AS HIGHLY
26
      CONFIDENTIAL-ATTORNEY’S EYES ONLY UNDER THE PROTECTIVE ORDER
27
      ENTERED IN THIS CASE
28
        DEFENDANTS’ RESPONSES AND OBJECTIONS                              Case No. 4:19-cv-07123-
        TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR                                             PJH
        ADMISSION
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 1           In accordance with Rules 26 and 36 of the Federal Rules of Civil Procedure, NSO Group

 2    Technologies Limited (“NSO”) and Q Cyber Technologies Limited (“Q Cyber”) (collectively,

 3 “Defendants”), by and through their undersigned counsel, hereby respond and object to Plaintiffs

 4 WhatsApp LLC and Meta Platforms, Inc.’s (“Plaintiffs”) First Set of Requests for Admission

 5 (collectively, the “Requests” and each, individually, a “Request”) served by Plaintiffs on March 7,

 6 2023, as follows.

 7                                       GENERAL OBJECTIONS

 8           1.      The responses to the Requests are made solely for the purpose of this action.

 9           2.      Defendants object to the Requests to the extent that they purport to impose

10    requirements or obligations different from or beyond those imposed by the Federal Rules of Civil

11    Procedure or the Local Rules of this Court.

12           3.      Each response is made solely with regard to the subject matter directly at issue in

13    this action during the timeframe relevant to this action.

14           4.      Each response is made subject to all objections as to competence, relevance,

15    materiality, propriety, admissibility, privilege, privacy, proprietary information, trade secrets, and

16    the like, and any and all other objections on grounds that would require the exclusion of any

17    response herein if such were offered in Court, all of which objections and grounds are reserved

18    and may be interposed at any time, including at the time of trial.

19           5.      Defendants object to the extent that the Requests seek information not relevant to

20    the claims or defenses of any party.

21           6.      Defendants object to the extent that the Requests are unlimited in scope or time.

22           7.      Defendants’ responses are not intended to be, and shall not be construed as, a

23    waiver of any objection(s) to the Requests.

24           8.      No incidental or implied admissions are intended in these responses. Defendants’

25    response to any Request should not be taken as an admission that Defendants accept or admit the

26    existence of any fact(s) or any document(s) assumed by that Request or that such response

27    constitutes admissible evidence.

28
        DEFENDANTS’ RESPONSES AND                      1                         Case No. 4:19-cv-07123-PJH
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 1           9.      Defendants have not completed their investigation of the facts related to this case,

 2    discovery in this action, or preparation for trial. These responses are based upon information

 3    known at this time and are given without prejudice to Defendants’ right to amend, supplement, or

 4 revise these responses with any subsequently-discovered information. Defendants expressly

 5 reserve the right to make such additional or modified responses as may be appropriate.

 6                                OBJECTIONS TO THE DEFINITIONS

 7           1.      Definition No. 1 (“Attack Period”): Defendants object to the definition of “Attack

 8    Period” as biased and prejudicial. Defendants’ products are used for law enforcement purposes.

 9    Accordingly, to the extent Defendants’ products were used in the conduct alleged in this action, if

10    at all, such use is not fairly characterized as an “Attack.”

11           2.      Definition No. 4 (“Control”): Defendants object to the definition of “Control” as

12    vague and ambiguous and overbroad. The definition accounts for a wide variety of conduct beyond

13    any common sense understanding of the word control. While the ability to “direct” can be

14    understood as a form of control, a person can readily “manage,” “use,” “access,” and “modify”

15    something without controlling it. Moreover, having the “ability to” do something, as stated in the

16    definition of “Control,” is distinct from exercising that ability, as the Requests seem use the term.

17    That contrast renders the term Control vague and ambiguous. Responding to any Request which

18    utilizes this definition would create impressible vagueness and ambiguity. Defendants interpret

19    the term “Control” to mean having the ability to exclude all others from accessing.

20           3.      Definition No. 5 (“Device”): Defendants object to the definition of “Device” as

21    vague, ambiguous and overbroad, because it purports to encompass any “electronic device.” That

22    circular definition—using the word device to define the word device—renders “Device” vague

23    and ambiguous. To the extent the definition to intended to encompass any electronic object, the

24    definition would be overbroad and responding to any Request which incorporate this definition

25    would be unduly burdensome and not proportional to the needs of the case. Defendants interpret

26 the term “Device” to mean a computer, mobile phone or server.

27           4.      Definition No. 8 (“NSO Spyware”): Defendants object to the definition of “NSO

28
        DEFENDANTS’ RESPONSES AND                       2                       Case No. 4:19-cv-07123-PJH
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 1    Spyware” as biased and prejudicial. The term “Spyware” is an inherently pejorative term that

 2    baselessly maligns Defendants’ products. Defendants will not refer to their products—which are

 3 used by law enforcement to catch the worst of criminals—as “Spyware.” Defendants further object

 4 to the overbroad scope of this definition. Any Request incorporating this definition would seek

 5 information related to technologies other than the Pegasus technology (“Pegasus”) that was used

 6 with respect to the approximately 1,400 “Target Devices” described in the Complaint (Dkt. No. 1

 7 at 2:6-7). Any technology other than Pegasus has no relevance to Plaintiffs’ allegations or any

 8 issue in this case. Because responding to any Request which incorporates this definition would be

 9 unduly burdensome and not proportional to the needs of the case, Defendants interpret the term

10 “NSO Spyware” to mean the version of Pegasus in effect during April and May of 2019 that was

11 allegedly used to access the approximately 1,400 “Target Devices” described in the Complaint.

12           5.      Definition No. 11 (“Person(s)”): Defendants object to Plaintiffs’ definition of

13 “Person(s)” as vague, ambiguous and overbroad. This definition includes 16 distinct roles or types

14 of entities. Responding to any Request which relies on such a broad definition of “Person,”

15 moreover, would be unduly burdensome and not proportional to the needs of the case.

16           6.      Definition No. 12 (“Technology”): Defendants’ object to Plaintiffs’ definition of

17 “Technology” as vague and ambiguous and overbroad.                 Plaintiffs’ definition is extremely

18 expansive and responding to any Requests which incorporate this definition would be unduly

19 burdensome and not proportional to the needs of the case.

20           7.      Definition No. 13 (“WestBridge”): Defendants’ object to Plaintiffs’ definition of

21 “WestBridge” as vague and ambiguous and overbroad. It is unclear whether Plaintiffs’ definition

22 of WestBridge, which includes “affiliates,” is intended to include Defendants.               Defendants

23 interpret the term “WestBridge” to include only WestBridge Technologies, Inc. and its employees.

24           8.      Definition No. 15 (“You” or “Your”): Defendants object to Plaintiffs’ definition

25    of “You” and “Your” as vague and ambiguous and overbroad. Under the guise of these words,

26    Plaintiffs improperly sweep in a host of people and entities, including Defendants’ “current and

27    former directors, employees, subsidiaries, corporate parents, affiliates, agents, representatives, and

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        DEFENDANTS’ RESPONSES AND                      3                         Case No. 4:19-cv-07123-PJH
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 1    all other persons acting or purporting to act on its behalf.” Responding to any Request which

 2    incorporates this term would be unduly burdensome and not proportional to the needs of the case.

 3    Unless otherwise indicated, any response to the Requests containing the term “You” or “Your” is

 4    limited to Defendants NSO and Q Cyber and their employees.

 5                               OBJECTIONS TO THE INSTRUCTIONS

 6           1.      NSO objects to Plaintiffs’ Instruction No. 1 to the extent it seeks to impose any

 7    obligation that is inconsistent with the scope of discovery permitted under the Federal Rules of

 8    Civil Procedure. NSO further objects to Plaintiffs’ Instruction No. 1 to the extent that the terms in

 9    Plaintiff’s requests are objectionable.

10           2.      NSO objects to Plaintiffs’ Instruction No. 4 to the extent it is inconsistent with or

11    omits parts of Fed. R. Civ. P. 26(e), which defines a party’s obligations to supplement.

12           3.      NSO objects to Plaintiffs’ Instructions Nos. 5, 6, 7, and 8 to the extent these

13 instructions are inconsistent with or omits parts of Fed. R. Civ. P. 36(a)(4), which states how a

14    party must answer a request for admission.

15                                  OBJECTIONS TO THE REQUESTS

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        DEFENDANTS’ RESPONSES AND                      4                        Case No. 4:19-cv-07123-PJH
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        DEFENDANTS’ RESPONSES AND             5                    Case No. 4:19-cv-07123-PJH
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        DEFENDANTS’ RESPONSES AND             6                    Case No. 4:19-cv-07123-PJH
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     DEFENDANTS’ RESPONSES AND               7                     Case No. 4:19-cv-07123-PJH
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 4   REQUEST FOR ADMISSION NO. 6:

 5          Admit that since July 19, 2020, You have performed a demonstration of NSO Spyware for

 6   a Person located outside Israel.

 7   RESPONSE TO REQUEST FOR ADMISSION NO. 6:

 8          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 9   and Objections to the Instructions as if set forth herein. Defendants object that the word

10   “demonstration” is vague and ambiguous in the context of this Request. Defendants further object

11   to this Request as it seeks information regarding a time period of nearly three years that is not

12   relevant to the issues in the litigation. The relevant time period for this action is January 2018

13 through May 13, 2019, and information outside that time period is not relevant to any party’s claim

14   or defense nor proportional to the needs of the case. Defendants further object to Plaintiffs’ use of

15   the term “You” as overbroad, vague, unduly burdensome, and not proportional to the needs of the

16   case. Defendants cannot reasonably respond on behalf of the many people potentially included by

17   that term, and any response is limited to the acts of defendants NSO Group and Q Cyber that are

18   known to their management and legal personnel. Defendants further object to this Request to the

19   extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than Pegasus

20   (i.e. the version in effect at the relevant time period for this action that was allegedly used with

21   respect to the approximately 1,400 Target Devices described in the Complaint) on the basis that

22   no other products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object

23   to the extent they are prohibited from disclosing the requested information by any Israeli law,

24   regulation, or governmental order or directive, or any other applicable law, regulation, or

25   governmental order or directive. Defendants further object on the ground and to the extent that

26   this Request seeks private, proprietary, trade secret, or confidential business information.

27   ///

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       DEFENDANTS’ RESPONSES AND                      8                        Case No. 4:19-cv-07123-PJH
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 1   REQUEST FOR ADMISSION NO. 7:

 2           Admit that since July 19, 2020, You have shared information concerning Your finances

 3   with a Person located outside Israel.

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 7:

 5           Defendants incorporate by reference the General Objections, Objections to the Definitions,

 6   and Objections to the Instructions as if set forth herein. Defendants object that the words “shared,”

 7 “finances,” and “located” are vague and ambiguous in the context of this Request. The word

 8 “located,” in particular, is subject to multiple meanings that are materially different as it could

 9 refer to a person’s physical location, place of residence, state of incorporation, or operating or

10 headquarters location(s), among other definitions. Defendants further object because, in light of

11 these ambiguities and Plaintiffs’ overbroad definition of the term “Person(s),” responding to this

12 Request would be unduly burdensome. Defendants further object to Plaintiffs’ use of the term

13 “You” as overbroad, vague, unduly burdensome, and not proportional to the needs of the case.

14 Defendants cannot reasonably respond on behalf of the many people potentially included by that

15 term, and any response is limited to the acts of defendants NSO Group and Q Cyber that are known

16 to their management and legal personnel. Defendants further object to this Request as it seeks

17 information regarding a time period of nearly three years that is not relevant to the issues in the

18 litigation. The relevant time period for this action is January 2018 through May 13, 2019, and

19 information outside that time period is not relevant to any party’s claim or defense nor proportional

20 to the needs of the case. Defendants further object to the extent they are prohibited from disclosing

21 the requested information by any Israeli law, regulation, or governmental order or directive, or any

22 other applicable law, regulation, or governmental order or directive. Defendants further object on

23 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

24 business information.

25 REQUEST FOR ADMISSION NO. 8:

26           Admit that since July 19, 2020, You have shared documentation about NSO Spyware with

27   a Person located outside Israel.

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       DEFENDANTS’ RESPONSES AND                      9                         Case No. 4:19-cv-07123-PJH
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 8:

 2           Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants object that the words “shared,”

 4 “documentation,” and “located” are vague and ambiguous in the context of this Request. The word

 5 “located,” in particular, is subject to multiple meanings that are materially different as it could

 6 refer to a person’s physical location, place of residence, state of incorporation, or operating or

 7 headquarters location(s), among other definitions. Defendants further object because, in light of

 8   these ambiguities and Plaintiffs’ overbroad definition of the term “Person(s),” responding to this

 9 Request would be unduly burdensome. Defendants further object to Plaintiffs’ use of the term

10 “You” as overbroad, vague, unduly burdensome, and not proportional to the needs of the case.

11 Defendants cannot reasonably respond on behalf of the many people potentially included by that

12 term, and any response is limited to the acts of defendants NSO Group and Q Cyber that are known

13 to their management and legal personnel. Defendants further object to this Request as it seeks

14 information regarding a time period of nearly three years that is not relevant to the issues in the

15 litigation. The relevant time period for this action is January 2018 through May 13, 2019, and

16 information outside that time period is not relevant to any party’s claim or defense nor proportional

17 to the needs of the case. Defendants further object to this Request to the extent that it falsely

18 implies that persons, teams, groups, divisions or sections at NSO deploy, use, or operate Pegasus

19 or any other technology within the definition of “NSO Spyware.” Defendants further object to

20 this Request to the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product

21 other than the relevant version Pegasus (i.e. the version in effect at the relevant time period for this

22 action that was allegedly used with respect to the approximately 1,400 Target Devices described

23 in the Complaint ) on the basis that no other products are relevant to Plaintiffs’ allegations in the

24 Complaint. Defendants further object to the extent they are prohibited from disclosing the

25 requested information by any Israeli law, regulation, or governmental order or directive, or any

26 other applicable law, regulation, or governmental order or directive. Defendants further object on

27 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

28
       DEFENDANTS’ RESPONSES AND                      10                        Case No. 4:19-cv-07123-PJH
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 1   business information.

 2   REQUEST FOR ADMISSION NO. 9:

 3          Admit that since July 19, 2020, You have caused the distribution and licensed use of NSO

 4   Spyware to a Person located outside Israel.

 5 RESPONSE TO REQUEST FOR ADMISSION NO. 9:

 6          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 7   and Objections to the Instructions as if set forth herein. Defendants object that the words “caused,”

 8   “distribution,” “use,” and “located” are vague and ambiguous in the context of this Request.

 9   Plaintiffs’ use of the word “caused” here is vague and ambiguous because any license is subject to

10   approval of the Government of Israel Ministry of Defense. Accordingly, Defendants are not in a

11   position to make representations as to the decisions of its regulators and cannot determine what

12   “caused the distribution and licensed use” of Pegasus. The word “located,” moreover, is subject

13   to multiple meanings that are materially different as it could refer to a person’s physical location,

14   place of residence, state of incorporation, or operating or headquarters location(s), among other

15   definitions. Defendants further object because, in light of these ambiguities and Plaintiffs’

16   overbroad definition of the term “Person(s),” responding this Request would be unduly

17   burdensome. Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague,

18   unduly burdensome, and not proportional to the needs of the case. Defendants cannot reasonably

19   respond on behalf of the many people potentially included by that term, and any response is limited

20   to the acts of defendants NSO Group and Q Cyber that are known to their management and legal

21   personnel. Defendants further object to this Request as it seeks information regarding a time period

22   of nearly three years that is not relevant to the issues in the litigation. The relevant time period for

23   this action is January 2018 through May 13, 2019, and information outside that time period is not

24   relevant to any party’s claim or defense nor proportional to the needs of the case. Defendants

25   further object to this Request to the extent that it falsely implies that persons, teams, groups,

26   divisions or sections at NSO deploy, use, or operate Pegasus or any other technology within the

27   definition of “NSO Spyware.” Defendants further object to this Request to the extent Plaintiffs

28
       DEFENDANTS’ RESPONSES AND                       11                        Case No. 4:19-cv-07123-PJH
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 1   intend for the phrase “NSO Spyware” to refer to any product other than the relevant version of

 2   Pegasus (i.e. the version in effect at the relevant time period for this action that was allegedly used

 3   with respect to the approximately 1,400 Target Devices described in the Complaint) on the basis

 4 that no other products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further

 5 object to the extent they are prohibited from disclosing the requested information by any Israeli

 6 law, regulation, or governmental order or directive, or any other applicable law, regulation, or

 7 governmental order or directive. Defendants further object on the ground and to the extent that

 8 this Request seeks private, proprietary, trade secret, or confidential business information.

 9          Subject to and without waiving those objections, Defendants respond as follows: Admit.

10   REQUEST FOR ADMISSION NO. 10:
11          Admit that You developed NSO Spyware.

12   RESPONSE TO REQUEST FOR ADMISSION NO. 10:

13          Defendants incorporate by reference the General Objections, Objections to the Definitions,

14   and Objections to the Instructions as if set forth herein. Defendants object that the word

15   “developed” is vague and ambiguous in the context of this Request. Defendants further object to

16   Plaintiffs’ use of the term “You” as overbroad, vague, unduly burdensome, and not proportional

17   to the needs of the case. Defendants cannot reasonably respond on behalf of the many people

18   potentially included by that term, and any response is limited to the acts of defendants NSO Group

19   and Q Cyber that are known to their management and legal personnel. Defendants further object

20   to this Request to the extent that it falsely implies that persons, teams, groups, divisions or sections

21   at NSO deploy, use, or operate Pegasus or any other technology within the definition of “NSO

22   Spyware.” Defendants further object to this Request to the extent Plaintiffs intend for the phrase

23   “NSO Spyware” to refer to any product other than the relevant version of Pegasus (i.e. the version

24 in effect at the relevant time period for this action that was allegedly used with respect to the

25 approximately 1,400 Target Devices described in the Complaint) on the basis that no other

26 products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

27 extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

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       DEFENDANTS’ RESPONSES AND                       12                        Case No. 4:19-cv-07123-PJH
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 1   or governmental order or directive, or any other applicable law, regulation, or governmental order

 2   or directive. Defendants further object on the ground and to the extent that this Request seeks

 3   private, proprietary, trade secret, or confidential business information.

 4          Subject to and without waiving those objections, Defendants respond as follows: Admit.

 5   REQUEST FOR ADMISSION NO. 11:

 6          Admit that a version of NSO Spyware is named “Pegasus.”

 7   RESPONSE TO REQUEST FOR ADMISSION NO. 11:

 8          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 9   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “a

10   version of NSO Spyware” is vague and ambiguous in the context of this Request, given Plaintiffs’

11 overbroad definition of NSO Spyware. Defendants further object to this Request to the extent

12 Plaintiffs intend for the phrase “NSO Spyware” to refer to any product the relevant version of

13 Pegasus (i.e. the version in effect at the relevant time period for this action that was allegedly used

14 with respect to the approximately 1,400 Target Devices described in the Complaint) on the basis

15 that no other products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further

16 object to the extent they are prohibited from disclosing the requested information by any Israeli

17 law, regulation, or governmental order or directive, or any other applicable law, regulation, or

18 governmental order or directive. Defendants further object on the ground and to the extent that

19 this Request seeks private, proprietary, trade secret, or confidential business information.

20          Subject to and without waiving those objections, Defendants respond as follows: Admit.

21 REQUEST FOR ADMISSION NO. 12:

22          Admit that Exhibit 10 to the Complaint accurately described the functionality of NSO

23   Spyware named “Pegasus.”

24   RESPONSE TO REQUEST FOR ADMISSION NO. 12:

25          Defendants incorporate by reference the General Objections, Objections to the Definitions,

26   and Objections to the Instructions as if set forth herein. Defendants object that the word

27   “functionality” is vague and ambiguous in the context of this Request. Because no one document

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       DEFENDANTS’ RESPONSES AND                     13                          Case No. 4:19-cv-07123-PJH
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 1   can describe the “functionality” of complex software in full, it is not possible for Defendants to

 2   answer this Request without Plaintiff specifying which aspects of Pegasus’s “functionality” they

 3 which to confirm are described “accurately.” Defendants object that this request is vague and

 4 ambiguous as to time, because the technology at issue changes over time. Defendants note that

 5 Exhibit 10 to the Complaint states that “We … release[] major upgrades to the Pegasus system [a]

 6 few times a year.” Thus, in the absence of Plaintiffs specifying a specific time period for the

 7 Request, Defendants cannot state if the document is accurate as a particular version of Pegasus.

 8 For the same reason, responding to this Request as stated would be unduly burdensome and not

 9 proportional to the needs of the case. Defendants further object to this Request to the extent

10 Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

11 version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

12 allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

13 on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

14 Defendants further object to the extent they are prohibited from disclosing the requested

15 information by any Israeli law, regulation, or governmental order or directive, or any other

16 applicable law, regulation, or governmental order or directive. Defendants further object on the

17 ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

18 business information.

19          Subject to and without waiving those objections, Defendants respond as follows: Exhibit

20 10 to the Complaint appears to be an authentic copy of a document authored by Defendants titled

21 “Pegasus-Product Description,” which described some features of Pegasus at the time it was

22 written, which Defendants believe occurred in 2012. Exhibit 10 is therefore of no relevance to

23 Plaintiff’s allegations, which start in 2018. Except as expressly admitted herein, Defendants deny

24 the request.

25 REQUEST FOR ADMISSION NO. 13:

26          Admit that You created the original version of the Exhibit 10 attached to the Complaint.

27   ///

28
       DEFENDANTS’ RESPONSES AND                    14                       Case No. 4:19-cv-07123-PJH
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 13:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants further object to Plaintiffs’

 4   use of the term “You” as overbroad, vague, unduly burdensome, and not proportional to the needs

 5   of the case. Defendants cannot reasonably respond on behalf of the many people potentially

 6   included by that term, and any response is limited to the acts of defendants NSO Group and Q

 7   Cyber that are known to their management and legal personnel. Defendants further object to the

 8   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

 9   or governmental order or directive, or any other applicable law, regulation, or governmental order

10   or directive. Defendants further object on the ground and to the extent that this Request seeks

11   private, proprietary, trade secret, or confidential business information.

12          Subject to and without waiving those objections, Defendants respond as follows: Exhibit

13   10 to the Complaint appears to be an authentic copy of a document authored by Defendants titled

14   “Pegasus-Product Description,” which described some features of Pegasus at the time it was

15   written, which Defendants believe occurred in 2012. Exhibit 10 is therefore of no relevance to

16   Plaintiff’s allegations, which start in 2018. Except as expressly admitted herein, Defendants deny

17   the request.

18   REQUEST FOR ADMISSION NO. 14:

19          Admit that Exhibit 10 to the Complaint accurately describes the “System Setup and

20   Training” You provide to Persons using NSO Spyware.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 14:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants object that the words

24   “accurately” and “Persons” are vague and ambiguous in the context of this Request. Defendants

25   object that this request is vague and ambiguous as to time, because the technology at issue changes

26   over time. Defendants note that Exhibit 10 to the Complaint states that “We … release[] major

27   upgrades to the Pegasus system [a] few times a year.” For the same reason, responding to this

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 1   Request as stated would be unduly burdensome and not proportional to the needs of the case.

 2   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

 3 burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

 4 on behalf of the many people potentially included by that term, and any response is limited to the

 5 acts of defendants NSO Group and Q Cyber that are known to their management and legal

 6 personnel. Defendants further object to this Request as it seeks information regarding Defendants’

 7 practices but does not specify the applicable time period for the request. Responding to such a

 8 request would be unduly burdensome and is not feasible. In any event, the relevant time period

 9 for this action is January 2018 through May 13, 2019, and information outside that time period is

10 not relevant to any party’s claim or defense nor proportional to the needs of the case. In light of

11 Plaintiffs’ use of the word “provide,” Defendants further object to this Request to the extent that

12 it falsely implies that persons, teams, groups, divisions or sections at NSO deploy, use, or operate

13 Pegasus or any other technology within the definition of “NSO Spyware.” Defendants further

14 object to this Request to the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any

15 product other than the relevant version of Pegasus (i.e. the version in effect at the relevant time

16 period for this action that was allegedly used with respect to the approximately 1,400 Target

17 Devices described in the Complaint) on the basis that no other products are relevant to Plaintiffs’

18 allegations in the Complaint. Defendants further object to the extent they are prohibited from

19 disclosing the requested information by any Israeli law, regulation, or governmental order or

20 directive, or any other applicable law, regulation, or governmental order or directive. Defendants

21 further object on the ground and to the extent that this Request seeks private, proprietary, trade

22 secret, or confidential business information.

23          Subject to and without waiving those objections, Defendants respond as follows: Exhibit

24 10 to the Complaint appears to be an authentic copy of a document authored by Defendants titled

25 “Pegasus-Product Description,” which described some features of Pegasus at the time it was

26 written, which Defendants believe occurred in 2012. Exhibit 10 is therefore of no relevance to

27 Plaintiff’s allegations, which start in 2018. Except as expressly admitted herein, Defendants deny

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       DEFENDANTS’ RESPONSES AND                    16                       Case No. 4:19-cv-07123-PJH
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 1   the request.

 2   REQUEST FOR ADMISSION NO. 15:

 3          Admit that a version of NSO Spyware is named “Phantom.”

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 15:

 5          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 6   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “version

 7   of NSO Spyware” is vague and ambiguous in the context of this Request. Defendants further

 8   object to this Request as it seeks information regarding Defendants’ products without stating a

 9   period for the request. The relevant time period for this action is January 2018 through May 13,

10   2019, and information outside that time period is not relevant to any party’s claim or defense nor

11   proportional to the needs of the case. Defendants further object to this Request to the extent

12   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

13   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

14 allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

15   on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

16   Defendants further object to the extent they are prohibited from disclosing the requested

17   information by any Israeli law, regulation, or governmental order or directive, or any other

18   applicable law, regulation, or governmental order or directive. Defendants further object on the

19   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

20   business information.

21          Subject to and without waiving those objections, Defendants respond as follows: Denied.

22   REQUEST FOR ADMISSION NO. 16:

23          Admit that You licensed use of NSO Spyware during the 2019 Attack Period.

24 RESPONSE TO REQUEST FOR ADMISSION NO. 16:

25          Defendants incorporate by reference the General Objections, Objections to the Definitions,

26   and Objections to the Instructions as if set forth herein. Defendants object that the words

27   “licensed,” “use,” and “the 2019 Attack Period” are vague and ambiguous in the context of this

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 1   Request. The approval of any license is subject to approval of the Government of Israel Ministry

 2   of Defense and Defendants are not in a position to make representations as to the decisions of its

 3   regulators. Defendants further object to this request to the extent it implies that Defendants operate

 4   Pegasus. Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague,

 5   unduly burdensome, and not proportional to the needs of the case. Defendants cannot reasonably

 6   respond on behalf of the many people potentially included by that term, and any response is limited

 7   to the acts of defendants NSO Group and Q Cyber that are known to their management and legal

 8   personnel. Defendants further object to this Request to the extent that it falsely implies that

 9   persons, teams, groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other

10   technology within the definition of “NSO Spyware.” Defendants further object to this Request to

11   the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the

12   relevant version of Pegasus (i.e. the version in effect at the relevant time period for this action that

13   was allegedly used with respect to the approximately 1,400 Target Devices described in the

14   Complaint)on the basis that no other products are relevant to Plaintiffs’ allegations in the

15   Complaint. Defendants further object to the phrase “2019 Attack Period” to the extent it implies

16   any “attack” occurred. Defendants’ products assist law enforcement in protecting the public and

17   are used for investigative purposes, not in “attacks.” Defendants further object to the extent they

18   are prohibited from disclosing the requested information by any Israeli law, regulation, or

19   governmental order or directive, or any other applicable law, regulation, or governmental order or

20   directive. Defendants further object on the ground and to the extent that this Request seeks private,

21   proprietary, trade secret, or confidential business information.

22          Subject to and without waiving those objections, Defendants respond as follows: Admit

23   that licenses of Pegasus were in effect during the period April 29, 2019 to May 10, 2019. Except

24 as expressly admitted herein, Defendants deny the request.

25 REQUEST FOR ADMISSION NO. 17:

26          Admit that NSO Spyware is capable of collecting information from a Device.

27 / / /

28
       DEFENDANTS’ RESPONSES AND                       18                        Case No. 4:19-cv-07123-PJH
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 17:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants object that the word “Device”

 4   is vague and ambiguous in the context of this Request, is improperly defined and overbroad.

 5   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

 6   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

 7   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

 8   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

 9   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

10   allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

11   on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

12   Defendants further object to the extent they are prohibited from disclosing the requested

13   information by any Israeli law, regulation, or governmental order or directive, or any other

14   applicable law, regulation, or governmental order or directive. Defendants further object on the

15   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

16   business information.

17          Subject to and without waiving those objections, Defendants respond as follows: Admit.

18   REQUEST FOR ADMISSION NO. 18:

19          Admit that NSO Spyware is designed to collect information from a Device.

20   RESPONSE TO REQUEST FOR ADMISSION NO. 18:

21          Defendants incorporate by reference the General Objections, Objections to the Definitions,

22   and Objections to the Instructions as if set forth herein. Defendants object that the terms “Device”

23 and “designed” are vague and ambiguous in the context of this Request. The term “Device” is

24 improperly defined and is overbroad. Defendants further object to this Request to the extent that

25 it falsely implies that persons, teams, groups, divisions or sections at NSO deploy, use, or operate

26 Pegasus or any other technology within the definition of “NSO Spyware.” Defendants further

27 object to this Request to the extent the word “designed,” in conjunction with “NSO Spyware” or

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 1   any aspect of the Requests, suggests Defendants acted with any improper or unlawful intent or

 2   purpose at any time. Defendants further object to this Request to the extent Plaintiffs intend for

 3   the phrase “NSO Spyware” to refer to any product other than the relevant version of Pegasus (i.e.

 4   the version in effect at the relevant time period for this action that was allegedly used with respect

 5   to the approximately 1,400 Target Devices described in the Complaint) on the basis that no other

 6   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

 7   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

 8   or governmental order or directive, or any other applicable law, regulation, or governmental order

 9   or directive. Defendants further object on the ground and to the extent that this Request seeks

10   private, proprietary, trade secret, or confidential business information.

11          Subject to and without waiving those objections, Defendants respond as follows: Admit.

12   REQUEST FOR ADMISSION NO. 19:

13          Admit that NSO Spyware is marketed for the purpose of collecting information from a

14   Device.

15   RESPONSE TO REQUEST FOR ADMISSION NO. 19:

16          Defendants incorporate by reference the General Objections, Objections to the Definitions,

17   and Objections to the Instructions as if set forth herein. Defendants object that the word “Device,”

18   “purpose,” and “marketed” is vague and ambiguous in the context of this Request. The term

19   “Device” is improperly defined and is overbroad. The term marketed, moreover, could refer to a

20   prohibitively broad set of activities, such that responding to this Request as stated would be unduly

21   burdensome and not proportional to the needs of the case. It is also unreasonable and unduly

22   burdensome for Defendants to ascribe a single “purpose” to the marketing of Pegasus, if any.

23   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

24   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

25   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

26   the word “marketed,” in conjunction with “NSO Spyware” or any aspect of the Requests, suggests

27   Defendants acted with any improper or unlawful intent or purpose at any time. Defendants further

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 1   object to this Request to the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any

 2   product other than the relevant version of Pegasus (i.e. the version in effect at the relevant time

 3   period for this action that was allegedly used with respect to the approximately 1,400 Target

 4   Devices described in the Complaint) on the basis that no other products are relevant to Plaintiffs’

 5   allegations in the Complaint. Defendants further object to the extent they are prohibited from

 6   disclosing the requested information by any Israeli law, regulation, or governmental order or

 7   directive, or any other applicable law, regulation, or governmental order or directive. Defendants

 8   further object on the ground and to the extent that this Request seeks private, proprietary, trade

 9   secret, or confidential business information.

10          Subject to and without waiving those objections, Defendants respond as follows: Admit

11   that Defendants’ marketing of Pegasus has included that Pegasus is capable of collecting

12   information from mobile devices.

13   REQUEST FOR ADMISSION NO. 20:

14          Admit that the use of WhatsApp is governed by the WhatsApp Terms of Service.

15   RESPONSE TO REQUEST FOR ADMISSION NO. 20:

16          Defendants incorporate by reference the General Objections, Objections to the Definitions,

17 and Objections to the Instructions as if set forth herein. Defendants object that this request calls

18 for a legal conclusion. Defendants object that the terms “use of” and “governed by” are vague and

19 ambiguous. Defendants further object on the basis that responding to this Request calls for a legal

20 conclusion insofar the Request requires Defendants to assess whether certain conduct is governed

21 by an agreement. Defendants further object that they lack sufficient knowledge or information to

22 respond to this Request, particularly as the hypothetical and undefined “use” in this Request

23 corresponds to Plaintiffs’ software application and Plaintiffs’ terms of service, not Defendants’

24 software or terms.

25          Subject to and without waiving those objections, Defendants respond that they lack

26 information sufficient to enable them to truthfully admit or deny the request, and therefore deny it

27 on that basis.

28
       DEFENDANTS’ RESPONSES AND                     21                      Case No. 4:19-cv-07123-PJH
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 1   REQUEST FOR ADMISSION NO. 21:

 2          Admit that You agreed to the WhatsApp Terms of Service prior to or during the 2019

 3   Attack Period.

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 21:

 5          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 6   and Objections to the Instructions as if set forth herein. Defendants object that this request calls

 7   for a legal conclusion. Defendants object that the phrase “agreed to” is vague and ambiguous in

 8   the context of this Request. In addition to being a complex question involving various factors not

 9   readily assessable in the context of a discovery response, whether an entity has agreed to terms of

10   service presents multiple questions of law. Accordingly, Defendants object to this Request as it

11 calls for a legal conclusion. Defendants further object to the phrase “2019 Attack Period” to the

12 extent it implies any “attack” occurred. Defendants’ products assist law enforcement in protecting

13 the public and are used for investigative purposes, not in “attacks.” Defendants further object to

14 Plaintiffs’ use of the term “You” as overbroad, vague, and unduly burdensome. Defendants cannot

15 reasonably respond on behalf of the many people potentially included by that term, and any

16 response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

17 management and legal personnel. Defendants further object to the extent they are prohibited from

18 disclosing the requested information by any Israeli law, regulation, or governmental order or

19 directive, or any other applicable law, regulation, or governmental order or directive. Defendants

20 further object on the ground and to the extent that this Request seeks private, proprietary, trade

21 secret, or confidential business information.

22          Subject to and without waiving those objections, Defendants respond as follows: Denied.

23   REQUEST FOR ADMISSION NO. 22:

24          Admit that You used WhatsApp prior to or during the 2019 Attack Period.

25   RESPONSE TO REQUEST FOR ADMISSION NO. 22:

26          Defendants incorporate by reference the General Objections, Objections to the Definitions,

27   and Objections to the Instructions as if set forth herein. Defendants object that the word “used” is

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 1   vague and ambiguous in the context of this Request, especially in combination with the term

 2   “You.” Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, and

 3   unduly burdensome. Defendants cannot reasonably respond on behalf of the many people

 4   potentially included by that term, and any response is limited to the acts of defendants NSO Group

 5   and Q Cyber that are known to their management and legal personnel. Defendants further object

 6   to the phrase “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’

 7   products assist law enforcement in protecting the public and are used for investigative purposes,

 8   not in “attacks.” Defendants further object to this request on the basis that they lack sufficient

 9   knowledge or information to respond to this Request, particularly as Pegasus is operated by NSO’s

10   sovereign customers. Defendants further object to the extent they are prohibited from disclosing

11   the requested information by any Israeli law, regulation, or governmental order or directive, or any

12   other applicable law, regulation, or governmental order or directive. Defendants further object on

13   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

14   business information.

15           Subject to and without waiving those objections, Defendants respond as follows:

16   Defendants admit that certain of their employees are among the nearly 2 billion people who

17   reportedly used WhatsApp in 2019, including during the period between April 29, 2019 and May

18 10, 2019.

19 REQUEST FOR ADMISSION NO. 23:

20           Admit that You used WhatsApp Computers to install or attempt to install NSO Spyware to

21   a Device.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 23:

23           Defendants incorporate by reference the General Objections, Objections to the Definitions,

24   and Objections to the Instructions as if set forth herein. Defendants object that the terms “used,”

25   “Device,” and “attempt to install” are vague and ambiguous in the context of this Request,

26   particularly in conjunction with the term “You.” Defendants further object to Plaintiffs’ use of the

27 term “You” as overbroad, vague, and unduly burdensome. Defendants cannot reasonably respond

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 1   on behalf of the many people potentially included by that term, and any response is limited to the

 2   acts of defendants NSO Group and Q Cyber that are known to their management and legal

 3 personnel. Defendants further object to this Request to the extent that it falsely implies that

 4 persons, teams, groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other

 5 technology within the definition of “NSO Spyware.” Defendants further object to this Request to

 6 the extent Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the

 7   relevant version of Pegasus (i.e. the version in effect at the relevant time period for this action that

 8   was allegedly used with respect to the approximately 1,400 Target Devices described in the

 9   Complaint) on the basis that no other products are relevant to Plaintiffs’ allegations in the

10   Complaint. Defendants further object to the extent they are prohibited from disclosing the

11   requested information by any Israeli law, regulation, or governmental order or directive, or any

12   other applicable law, regulation, or governmental order or directive. Defendants further object on

13   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

14   business information.

15           Subject to and without waiving those objections, Defendants respond as follows: Denied.

16   REQUEST FOR ADMISSION NO. 24:

17           Admit that You did not have permission from WhatsApp or Meta to install or attempt to

18   install NSO Spyware using WhatsApp Computers.

19   RESPONSE TO REQUEST FOR ADMISSION NO. 24:

20           Defendants incorporate by reference the General Objections, Objections to the Definitions,

21   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “attempt

22   to install” is vague and ambiguous in the context of this Request, as it is not clear what constitutes

23   “attempt[ing] to install.” Defendants object that the request implies that Defendants installed or

24   attempted to install NSO Spyware using WhatsApp Computers, which is not true or accurate.

25   Defendants object to Plaintiffs’ use of the term “You” as overbroad, vague, and unduly

26   burdensome. Defendants cannot reasonably respond on behalf of the many people potentially

27   included by that term, and any response is limited to the acts of defendants NSO Group and Q

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 1   Cyber that are known to their management and legal personnel. Defendants further object to

 2   Plaintiffs’ use of the term “install” to the extent is miscomprehends or misstates how Pegasus

 3   functions, including because Pegasus would not require that anything be installed on a “WhatsApp

 4   Computer,” even if used in connection Plaintiffs’ allegations. Defendants further object to this

 5   Request to the extent that it falsely implies that persons, teams, groups, divisions or sections at

 6   NSO deploy, use, or operate Pegasus or any other technology within the definition of “NSO

 7   Spyware.” Defendants further object to this Request to the extent Plaintiffs intend for the phrase

 8   “NSO Spyware” to refer to any product other than the relevant version of Pegasus (i.e. the version

 9   in effect at the relevant time period for this action that was allegedly used with respect to the

10   approximately 1,400 Target Devices described in the Complaint) on the basis that no other

11   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

12   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

13   or governmental order or directive, or any other applicable law, regulation, or governmental order

14   or directive. Defendants further object on the ground and to the extent that this Request seeks

15   private, proprietary, trade secret, or confidential business information.

16          Subject to and without waiving those objections, Defendants respond as follows: Denied.

17   REQUEST FOR ADMISSION NO. 25:

18          Admit that Exhibit A to the Complaint, starting on page 8 of Exhibit 11 to the Complaint,

19   accurately describes Your “Systems and Services,” as defined in Exhibit A to the Complaint, as of

20   December 17, 2015.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 25:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “Exhibit

24   A to the Complaint, starting on page 8 of Exhibit 11 to the Complaint” is vague and ambiguous.

25   Defendants interpret this request as asking about Exhibit A to Exhibit 11 to the Complaint.

26   Defendants further object that the words “as of” are vague and ambiguous in the context of this

27   Request as they could mean “on” or “since.” Defendants object that the term “accurately” is vague

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 1   and ambiguous in the context of this Request as the time period for this Request is unclear. In the

 2   absence of Plaintiffs specifying a time period for the Request, Defendants cannot state if the

 3   document is accurate as to any “Systems and Services” at the time. Defendants further object to

 4   this Request to the extent that it seeks information prior to January 2018. The relevant time period

 5   for this action is January 2018 through May 13, 2019, and information outside that time period is

 6   not relevant to any party’s claim or defense nor proportional to the needs of the case. Defendants

 7   further object to the phrase “Your ‘Systems and Services’” because Plaintiffs’ overbroad definition

 8   for “Your” renders this request vague, overbroad, unduly burdensome, and not proportional to the

 9   needs of the case. Defendants further object to the extent the phrase “your ‘Systems and Services’”

10   implicitly seeks information regarding any product other than the relevant version of Pegasus (i.e.

11   the version in effect at the relevant time period for this action that was allegedly used with respect

12   to the approximately 1,400 Target Devices described in the Complaint) on the basis that no other

13   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

14   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

15   or governmental order or directive, or any other applicable law, regulation, or governmental order

16   or directive. Defendants further object on the ground and to the extent that this Request seeks

17   private, proprietary, trade secret, or confidential business information.

18          Subject to and without waiving those objections, Defendants respond as follows:

19   Defendants lack information sufficient to enable them to truthfully admit or deny whether Exhibit

20   A to Exhibit 11 to the Complaint is authentic. Defendants admit that Exhibit A appears to describe

21   certain aspects of a technology system that was to be provided in 2015 pursuant to a contract.

22   Except as expressly admitted herein, Defendants deny the request.

23   REQUEST FOR ADMISSION NO. 26:

24          Admit that Exhibit A-1 to the Complaint, starting on page 9 of Exhibit 11 to the Complaint,

25   accurately describes the “Features and Capabilities” of NSO Spyware, as of December 17, 2015.

26   RESPONSE TO REQUEST FOR ADMISSION NO. 26:

27          Defendants incorporate by reference the General Objections, Objections to the Definitions,

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 1   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “Exhibit

 2   A-1 to the Complaint, starting on page 9 of Exhibit 11 to the Complaint” is vague and ambiguous.

 3 Defendants interpret this request as asking about Exhibit A-1 to Exhibit 11 to the Complaint.

 4 Defendants further object that the words “as of” are vague and ambiguous in the context of this

 5 Request as they could mean “on” or “since.” Defendants object that the term “accurately” is vague

 6 and ambiguous in the context of this Request as the time period for this Request is unclear. In the

 7 absence of Plaintiffs specifying a time period for the Request, Defendants cannot state if the

 8   document is accurate as to any “Features and Capabilities” at the time. Defendants further object

 9   to this Request to the extent that it seeks information prior to January 2018. The relevant time

10   period for this action is January 2018 through May 13, 2019, and information outside that time

11   period is not relevant to any party’s claim or defense nor proportional to the needs of the case.

12   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

13   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

14   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

15   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

16   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

17   allegedly used with respect to the approximately 1,400 Target Devices described in the

18   Complaint)on the basis that no other products are relevant to Plaintiffs’ allegations in the

19   Complaint. Defendants further object to the extent they are prohibited from disclosing the

20   requested information by any Israeli law, regulation, or governmental order or directive, or any

21   other applicable law, regulation, or governmental order or directive. Defendants further object on

22   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

23   business information.

24           Subject to and without waiving those objections, Defendants respond as follows:

25   Defendants lack information sufficient to enable them to truthfully admit or deny whether Exhibit

26   A-1 to Exhibit 11 to the Complaint is authentic. Defendants admit that Exhibit A-1 to Exhibit 11

27   appears to describe certain aspects of a technology system that was to be provided in 2015 pursuant

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 1   to a contract. Except as expressly admitted herein, Defendants deny the request.

 2   REQUEST FOR ADMISSION NO. 27:

 3          Admit that Exhibit B to the Complaint titled “Considerations,” starting on page 32 of

 4   Exhibit 11 to the Complaint, accurately describes payments to be made to You for “the provision

 5   of the License, System, and Services” related to Pegasus, as of December 17, 2015.

 6 RESPONSE TO REQUEST FOR ADMISSION NO. 27:

 7          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 8   and Objections to the Instructions as if set forth herein. Defendants object that the term “You”

 9   renders this Request vague, ambiguous, unduly burdensome and not proportional to the needs of

10   the case. Any response is limited to Defendants NSO and Q Cyber. Defendants further object that

11   the words “as of” are vague and ambiguous in the context of this Request as they could mean “on”

12   or “since.” Defendants object that the term “accurately” is vague and ambiguous in the context of

13   this Request as the time period for this Request is unclear. In the absence of Plaintiffs specifying

14   a time period for the Request, Defendants cannot state if Exhibit B is accurate as to any payments.

15   Defendants further object to this Request to the extent that it seeks information for multiple years

16   or information prior to January 2018. The relevant time period for this action is January 2018

17 through May 13, 2019, and information outside that time period is not relevant to any party’s claim

18 or defense nor proportional to the needs of the case. Defendants further object to the extent they

19 are prohibited from disclosing the requested information by any Israeli law, regulation, or

20 governmental order or directive, or any other applicable law, regulation, or governmental order or

21 directive. Defendants further object on the ground and to the extent that this Request seeks private,

22 proprietary, trade secret, or confidential business information.

23          Subject to and without waiving those objections, Defendants respond as follows: Denied.

24 REQUEST FOR ADMISSION NO. 28:

25          Admit that Exhibit C to the Complaint, starting on page 33 of Exhibit 11 to the Complaint,

26   accurately describes the “Installation Requirements” of NSO Spyware as of December 17, 2015.

27   ///

28
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 28:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants object that the phrase “Exhibit

 4   C to the Complaint, starting on page 33 of Exhibit 11 to the Complaint” is vague and ambiguous.

 5   Defendants interpret this request as asking about Exhibit C to Exhibit 11 to the Complaint.

 6   Defendants further object that the words “as of” are vague and ambiguous in the context of this

 7   Request as they could mean “on” or “since.” Defendants object that the term “accurately” is vague

 8   and ambiguous in the context of this Request as the time period for this Request is unclear.

 9   Defendants further object to this Request to the extent that it seeks information for multiple years

10   or information prior to January 2018. The relevant time period for this action is January 2018

11   through May 13, 2019, and information outside that time period is not relevant to any party’s claim

12   or defense nor proportional to the needs of the case. Defendants further object to this Request to

13   the extent that it falsely implies that persons, teams, groups, divisions or sections at NSO deploy,

14   use, or operate Pegasus or any other technology within the definition of “NSO Spyware.”

15   Defendants further object to this Request to the extent Plaintiffs intend for the phrase “NSO

16   Spyware” to refer to any product other than the relevant version of Pegasus (i.e. the version in

17   effect at the relevant time period for this action that was allegedly used with respect to the

18   approximately 1,400 Target Devices described in the Complaint) on the basis that no other

19   products are relevant to Plaintiffs’ allegations in the Complaint. Defendants further object to the

20   extent they are prohibited from disclosing the requested information by any Israeli law, regulation,

21   or governmental order or directive, or any other applicable law, regulation, or governmental order

22   or directive. Defendants further object on the ground and to the extent that this Request seeks

23   private, proprietary, trade secret, or confidential business information.

24          Subject to and without waiving those objections, Defendants respond as follows:

25   Defendants lack information sufficient to enable them to truthfully admit or deny whether Exhibit

26   C to Exhibit 11 to the Complaint is authentic. Defendants admit that Exhibit C to Exhibit 11

27   appears to describe certain aspects of a technology system that was to be provided in 2015 pursuant

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       DEFENDANTS’ RESPONSES AND                     29                          Case No. 4:19-cv-07123-PJH
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 1   to a contract. Except as expressly admitted herein, Defendants deny the request.

 2   REQUEST FOR ADMISSION NO. 29:

 3          Admit that Exhibit D to the Complaint, starting on page 34 of Exhibit 11 to the Complaint,

 4   is a true and accurate copy of a service level agreement between NSO Group Technologies Ltd.

 5   And Infralock Development Limited.

 6   RESPONSE TO REQUEST FOR ADMISSION NO. 29:

 7          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 8   and Objections to the Instructions as if set forth herein. Defendants further object to this Request

 9   to the extent that it seeks information for multiple years or information prior to January 2018. The

10   relevant time period for this action is January 2018 through May 13, 2019, and information outside

11   that time period is not relevant to any party’s claim or defense nor proportional to the needs of the

12   case. Defendants further object to the extent they are prohibited from disclosing the requested

13   information by any Israeli law, regulation, or governmental order or directive, or any other

14 applicable law, regulation, or governmental order or directive. Defendants object on the basis that

15   they are not permitted under Israeli law and their agreement to disclose the identity of any potential

16   customers. Defendants further object on the ground and to the extent that this Request seeks

17   private, proprietary, trade secret, or confidential business information.

18          Subject to and without waiving those objections, Defendants respond as follows: Denied.

19   REQUEST FOR ADMISSION NO. 30:

20          Admit that You owned or Controlled servers used to install NSO Spyware.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 30:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants further object that the term

24   “Controlled” is vague and ambiguous in the context of this Request; Defendants interpret

25 “Control” to mean having the ability to exclude all others from accessing. Defendants further

26 object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly burdensome, and not

27 proportional to the needs of the case. Defendants cannot reasonably respond on behalf of the many

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 1   people potentially included by that term, and any response is limited to the acts of defendants NSO

 2   Group and Q Cyber that are known to their management and legal personnel. Defendants further

 3   object on the basis that the Request does not specify the applicable time period. The relevant time

 4   period for this action is January 2018 through May 13, 2019, and information outside that time

 5   period is not relevant to any party’s claim or defense nor proportional to the needs of the case.

 6   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

 7   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

 8   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

 9   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

10   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

11   allegedly used with respect to the approximately 1,400 Target Devices described in the Complaint)

12   on the basis that no other products are relevant to Plaintiffs’ allegations in the Complaint.

13   Defendants further object to the extent they are prohibited from disclosing the requested

14   information by any Israeli law, regulation, or governmental order or directive, or any other

15   applicable law, regulation, or governmental order or directive. Defendants further object on the

16   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

17   business information.

18          Subject to and without waiving those objections, Defendants respond as follows: Denied.

19   REQUEST FOR ADMISSION NO. 31:

20          Admit that You provided technical support to Persons using NSO Spyware.

21 RESPONSE TO REQUEST FOR ADMISSION NO. 31:

22          Defendants incorporate by reference the General Objections, Objections to the Definitions,

23   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

24   “provided” and “technical support” as vague and ambiguous in the context of this Request,

25   particularly given the breadth of people and entities included as “Persons.” Defendants further

26   object because, in light of Plaintiffs’ overbroad definition of the term “Person(s),” responding this

27 Request would be unduly burdensome. Defendants object that the term “You” renders this Request

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 1   vague, ambiguous, unduly burdensome and not proportional to the needs of the case. Defendants

 2   cannot reasonably respond on behalf of the many people potentially included by that term, and any

 3   response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

 4   management and legal personnel. Defendants further object on the basis that the Request does not

 5   specify the applicable time period. The relevant time period for this action is January 2018 through

 6   May 13, 2019, and information outside that time period is not relevant to any party’s claim or

 7   defense nor proportional to the needs of the case. As the Requests use the term “provides,”

 8   Defendants further object to this Request to the extent that it falsely implies that persons, teams,

 9   groups, divisions or sections at NSO deploy, use, or operate Pegasus or any other technology

10   within the definition of “NSO Spyware.” Defendants further object to this Request to the extent

11   Plaintiffs intend for the phrase “NSO Spyware” to refer to any product other than the relevant

12   version of Pegasus (i.e. the version in effect at the relevant time period for this action that was

13   allegedly used with respect to the approximately 1,400 Target Devices described in the

14   Complaint)on the basis that no other products are relevant to Plaintiffs’ allegations in the

15   Complaint. Defendants further object to the extent they are prohibited from disclosing the

16   requested information by any Israeli law, regulation, or governmental order or directive, or any

17   other applicable law, regulation, or governmental order or directive. Defendants further object on

18   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

19   business information.

20           Subject to and without waiving those objections, Defendants respond as follows: Admit.

21   REQUEST FOR ADMISSION NO. 32:

22           Admit that Your support engineers could be reached at the phone number

23

24   RESPONSE TO REQUEST FOR ADMISSION NO. 32:

25           Defendants incorporate by reference the General Objections, Objections to the Definitions,

26   and Objections to the Instructions as if set forth herein. Defendants further object that the term

27   “support engineers” is vague and ambiguous in the context of this Request as the Requests fail to

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 1   define this term. Defendants further object that the term “Your” renders this Request vague,

 2   ambiguous, unduly burdensome and not proportional to the needs of the case. Defendants cannot

 3   reasonably respond on behalf of the many people potentially included by that term, and any

 4   response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

 5   management and legal personnel. Defendants further object on the basis that the Request is vague

 6   in that it does not specify the applicable time period. The relevant time period for this action is

 7   January 2018 through May 13, 2019, and information outside that time period is not relevant to

 8   any party’s claim or defense nor proportional to the needs of the case. Defendants further object

 9   to the extent they are prohibited from disclosing the requested information by any Israeli law,

10   regulation, or governmental order or directive, or any other applicable law, regulation, or

11   governmental order or directive. Defendants further object on the ground and to the extent that

12   this Request seeks private, proprietary, trade secret, or confidential business information.

13          Subject to and without waiving those objections, Defendants respond as follows: Admit.

14   REQUEST FOR ADMISSION NO. 33:

15          Admit that Your Technical Support Center could be reached at the e-mail address

16

17   RESPONSE TO REQUEST FOR ADMISSION NO. 33:

18          Defendants incorporate by reference the General Objections, Objections to the Definitions,

19   and Objections to the Instructions as if set forth herein. Defendants further object that the term

20   “Technical Support Center” is vague and ambiguous in the context of this Request as the Requests

21   fail to define this term. Defendants further object that the term “Your” renders this Request vague,

22   ambiguous, unduly burdensome and not proportional to the needs of the case. Defendants cannot

23   reasonably respond on behalf of the many people potentially included by that term, and any

24   response is limited to the acts of defendants NSO Group and Q Cyber that are known to their

25   management and legal personnel. Defendants further object because Defendants lack sufficient

26   knowledge or information to respond to this Request on the basis that the email address appears to

27   be operated by a third party entity. Defendants further object on the basis that the Request does

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 1   not specify the applicable time period. The relevant time period for this action is January 2018

 2   through May 13, 2019, and information outside that time period is not relevant to any party’s claim

 3   or defense nor proportional to the needs of the case. Defendants further object to the extent they

 4   are prohibited from disclosing the requested information by any Israeli law, regulation, or

 5   governmental order or directive, or any other applicable law, regulation, or governmental order or

 6   directive. Defendants further object on the ground and to the extent that this Request seeks private,

 7   proprietary, trade secret, or confidential business information.

 8          Subject to and without waiving those objections, Defendants respond as follows: Admit.

 9   REQUEST FOR ADMISSION NO. 34:

10          Admit that, between April 29, 2019 and May 10, 2019, WestBridge used, caused to be

11   used, and Controlled the Device associated with the phone number

12   RESPONSE TO REQUEST FOR ADMISSION NO. 34:

13          Defendants incorporate by reference the General Objections, Objections to the Definitions,

14   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

15   “used, caused to be used,” “Controlled,” and “Device” as vague and ambiguous. Defendants

16   interpret “Control” to mean having the ability to exclude all others from accessing. Defendants

17   further object to the extent they are prohibited from disclosing the requested information by any

18   Israeli law, regulation, or governmental order or directive, or any other applicable law, regulation,

19   or governmental order or directive. Defendants further object on the ground and to the extent that

20   this Request seeks private, proprietary, trade secret, or confidential business information.

21          Subject to and without waiving those objections, Defendants respond as follows:

22   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

23   therefore deny it on that basis.

24   REQUEST FOR ADMISSION NO. 35:

25          Admit that between April 29, 2019 and May 10, 2019, WestBridge employee Josh Shaner,

26   used, caused to be used, and Controlled the Device associated with the phone number

27

28
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 35:

 2          Defendants incorporate by reference the General Objections, Objections to the Definitions,

 3   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

 4   “used, caused to be used,” “Controlled,” and “Device” are vague and ambiguous in the context of

 5   this Request. Defendants interpret “Control” to mean having the ability to exclude all others from

 6   accessing. Defendants further object to the extent they are prohibited from disclosing the requested

 7   information by any Israeli law, regulation, or governmental order or directive, or any other

 8 applicable law, regulation, or governmental order or directive. Defendants further object on the

 9   ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

10   business information.

11          Subject to and without waiving those objections, Defendants respond as follows:

12   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

13   therefore deny it on that basis.

14   REQUEST FOR ADMISSION NO. 36:

15          Admit that You used, caused to be used, and Controlled the WhatsApp account associated

16   with phone number                   during the 2019 Attack Period.

17   RESPONSE TO REQUEST FOR ADMISSION NO. 36:

18          Defendants incorporate by reference the General Objections, Objections to the Definitions,

19   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

20   “associate with,” “used, caused to be used,” and “Controlled” are vague, ambiguous, unduly

21   burdensome, and not proportional to the needs of the case. Defendants interpret “Control” to mean

22   having the ability to exclude all others from accessing. Defendants further object to the phrase

23   “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’ products assist

24   law enforcement in protecting the public and are used for investigative purposes, not in “attacks.”

25   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

26   burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

27   on behalf of the many people potentially included by that term, and any response is limited to the

28
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 1   acts of defendants NSO Group and Q Cyber that are known to their management and legal

 2 personnel. Defendants further object to the extent they are prohibited from disclosing the

 3 requested information by any Israeli law, regulation, or governmental order or directive, or any

 4 other applicable law, regulation, or governmental order or directive. Defendants further object on

 5 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

 6   business information.

 7          Subject to and without waiving those objections, Defendants respond as follows:

 8   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

 9   therefore deny it on that basis.

10   REQUEST FOR ADMISSION NO. 37:

11          Admit that You used, caused to be used, and Controlled the WhatsApp account associated

12 with phone number                      during the 2019 Attack Period.

13   RESPONSE TO REQUEST FOR ADMISSION NO. 37:

14          Defendants incorporate by reference the General Objections, Objections to the Definitions,

15   and Objections to the Instructions as if set forth herein. Defendants further object that the terms

16   “associate with,” “used, caused to be used,” and “Controlled” are vague, ambiguous, unduly

17 burdensome, and not proportional to the needs of the case. Defendants interpret “Control” to mean

18   having the ability to exclude all others from accessing. Defendants further object to the phrase

19   “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’ products assist

20   law enforcement in protecting the public and are used for investigative purposes, not in “attacks.”

21   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

22   burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

23   on behalf of the many people potentially included by that term, and any response is limited to the

24   acts of defendants NSO Group and Q Cyber that are known to their management and legal

25 personnel. Defendants further object to the extent they are prohibited from disclosing the

26 requested information by any Israeli law, regulation, or governmental order or directive, or any

27 other applicable law, regulation, or governmental order or directive. Defendants further object on

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 1   the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

 2   business information.

 3           Subject to and without waiving those objections, Defendants respond as follows:

 4   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

 5   therefore deny it on that basis.

 6   REQUEST FOR ADMISSION NO. 38:

 7           Admit that You had Control over the servers that resolve to the Internet Protocol (IP)

 8   address 54.93.81.200 during the 2019 Attack Period.

 9   RESPONSE TO REQUEST FOR ADMISSION NO. 39:

10           Defendants incorporate by reference the General Objections, Objections to the Definitions,

11   and Objections to the Instructions as if set forth herein. Defendants interpret “Control” to mean

12   having the ability to exclude all others from accessing. Defendants further object to the phrase

13   “2019 Attack Period” to the extent it implies any “attack” occurred. Defendants’ products assist

14   law enforcement in protecting the public and are used for investigative purposes, not in “attacks.”

15   Defendants further object to Plaintiffs’ use of the term “You” as overbroad, vague, unduly

16   burdensome, and not proportional to the needs of the case. Defendants cannot reasonably respond

17   on behalf of the many people potentially included by that term, and any response is limited to the

18   acts of defendants NSO Group and Q Cyber that are known to their management and legal

19 personnel. Defendants further object to the extent they are prohibited from disclosing the

20 requested information by any Israeli law, regulation, or governmental order or directive, or any

21 other applicable law, regulation, or governmental order or directive. Defendants further object on

22 the ground and to the extent that this Request seeks private, proprietary, trade secret, or confidential

23 business information.

24 / / /

25 / / /

26 / / /

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 1          Subject to and without waiving those objections, Defendants respond as follows:

 2   Defendants lack information sufficient to enable them to truthfully admit or deny the Request, and

 3   therefore deny it on that basis.

 4

 5   Dated: April 17, 2023                        KING & SPALDING LLP
 6

 7                                                By:     /s/ Aaron S. Craig
                                                          JOSEPH N. AKROTIRIANAKIS
 8                                                        AARON S. CRAIG
 9                                                        Attorneys for Defendants NSO GROUP
                                                          TECHNOLOGIES LIMITED and Q
10                                                        CYBER TECHNOLOGIES LIMITED

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                                          PROOF OF SERVICE
 1

 2           I am a citizen of the United States and resident of the State of California. I am employed
     in the County of Los Angeles, State of California, in the office of a member of the bar of this
 3   Court, at whose direction this service was made. I am over the age of eighteen years and not a
     party to the within action.
 4
            On April 17, 2023, I served the following documents in the manner described below:
 5

 6        DEFENDANTS NSO GROUP TECHNOLOGIES LIMITED AND Q CYBER
       TECHNOLOGIES LIMITED’S RESPONSES AND OBJECTIONS TO PLAINTIFFS
 7    WHATSAPP, INC. AND META PLATFORMS, INC. FKA FACEBOOK, INC.’S FIRST
                       SET OF REQUESTS FOR ADMISSION
 8
             BY ELECTRONIC SERVICE: By electronically mailing a true and correct copy
 9            through King & Spalding LLP’s electronic mail system to the email addresses set
              forth below.
10
            On the following parties in this action:
11

12                            PLEASE SEE ATTACHED SERVICE LIST

13
            I declare under penalty of perjury under the laws of the State of California that the
14   foregoing is true and correct. Executed on April 17, 2023, at Los Angeles, California.

15
                                                   By:
16                                                           ADRIANA S. KIM
17

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                                          SERVICE LIST
 1
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 2
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 3   450 Lexington Avenue                          450 Lexington Avenue
     New York, New York 10017                      New York, New York 10017
 4   Telephone: (212) 450-4724                     Telephone: (212) 450-3162
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 5
     Antonio J. Perez-Marques                      Micah G. Block
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 8   Telephone: (212) 450-4559                     Telephone: (650) 752-2000
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      DEFENDANTS’ RESPONSES AND               40                       Case No. 4:19-cv-07123-PJH
      OBJECTIONS TO PLAINTIFFS’ FIRST SET
      OF REQUESTS FOR ADMISSION
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                  EXHIBIT D
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                                                                    Joseph N. Akrotirianakis
                                                                    Partner
                                                                    jakro@kslaw.com




                 HIGHLY-CONFIDENTIAL – ATTORNEY’S EYES ONLY


July 12, 2024


VIA EMAIL
Greg D. Andres, Esq.
Davis Polk & Wardwell LLP
450 Lexington Avenue
New York, NY 10017

Re:     WhatsApp LLC, et al. v. NSO Group Technologies Limited et al., 4:19-CV-07123-PJH

Dear Greg:

        Thank you for your July 2, 2024, letter. We discussed the letter with your law firm
colleagues yesterday and informed them that we would provide our response today. In spite of
that conversation, it has come to our attention that your clients have already begun to publicize the
materials at issue. Multiple individuals identified in those materials have been contacted by the
press for comment today based on information allegedly provided by your clients.




       Second, the Stipulated Protective Order remains applicable to all such information already
produced and designated by NSO. Even if the materials disclosed by “Edna Karnaval” are
determined to be genuine, which NSO is currently investigating, it would appear highly unlikely
they were obtained lawfully. (See Stipulated Protective Order § 3). More importantly, your clients
would only be able to confirm the authenticity of the materials at issue by, among other things,
reviewing items already designated under the Order. (See id.)
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        Third, assuming that any of the materials are authentic, any documents that were privileged
remain protected. As I am sure that you are aware, involuntary disclosures do not waive the
attorney-client privilege. In re Pac. Pictures Corp., 679 F.3d 1121, 1130 (9th Cir. 2012). Federal
courts have consistently held that the unauthorized leak or publication of protected materials does
not waive privilege. See, e.g., Smith v. Armour Pharm. Co., 838 F. Supp. 1573, 1577 (S.D. Fla.
1993); see also Dukes v. Wal-Mart Stores, Inc., No. 01-cv-2252 CRB (JSC), 2013 WL 1282892,
at *6 (N.D. Cal. Mar. 26, 2013) (leak of memorandum did not waive privilege where the company
“took reasonable steps to clearly mark the Memo as privileged and to maintain it in a secure
location and limit its dissemination”); Sackman v. Liggett Group, Inc., 173 F.R.D. 358, 365
(E.D.N.Y. 1997) (“assertion of privilege [] is not waived through public disclosure of a stolen
privileged document”); Resolution Trust Corp. v. Dean, 813 F. Supp. 1426, 1429 (D. Ariz. 1993)
(holding that unauthorized leak to a newspaper of an internal memo did not waive attorney-client
privilege); In re Dayco Corp. Derivative Sec. Litig., 102 F.R.D. 468, 469-70 (S.D. Ohio 1984)
(“Absent any indication that Ms. Curry or Dayco officials voluntarily gave the diary to the Dayton
Daily News, publication of excerpts of same should not be considered a waiver of the privilege”);
In re Grand Jury Proceedings Involving Berkely, 466 F. Supp. 863, 869-70 (D. Minn. 1979)
(finding that the documents stolen from a corporation “should not lose their privileged status
simply because of the manner in which they were disclosed”).

       Fourth, with respect to your remaining questions, we only recently became aware of the
information posted to the “Edna Karnaval” Website. We are investigating the disclosures,
including how and from where the documents were obtained and whether they are authentic. None
of the materials were obtained from King & Spalding, NSO, or Q Cyber.


        Given the potential sensitivity of the materials at issue, we would have expected Facebook,
WhatsApp, and the Davis Polk firm to treat the materials as privileged and confidential—
particularly while your prior letter was pending.

         Please confirm by the close of business on Monday, July 15, 2024, that none of the
plaintiffs, their affiliates, their representatives, or their agents have shared any confidential,
restricted, or privileged information with any third parties. This includes, but is not limited to,
members of the press.

         Furthermore, please inform us as soon as possible, but no later than Friday, July 19, 2024:

   •     How Facebook, WhatsApp, and/or the Davis Polk firm came to be aware of the Edna
         Karnaval website;

   •     Whether either of the plaintiffs, any of their Israeli affiliates, or anyone acting on their
         behalf, has had any contact with any source(s) of materials cited in your July 2, 2024, letter;

   •     Whether either of the plaintiffs, any of their Israeli affiliates, or anyone acting on their
         behalf has had any contact with any operators, representatives, or authors of the “Edna
         Karnaval” website; and
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   •     To the extent not previously covered, whether either of the plaintiffs, any of their Israeli
         affiliates, or anyone acting on their behalf has had any contact with any other third party
         (e.g., journalists) regarding any of the information appearing on the Edna Karnaval website
         or regarding any other confidential, privileged, or restricted information relating to this
         lawsuit.

       NSO and King & Spalding reserve all rights should the plaintiffs attempt to make use of
any such materials improperly in this litigation or to improperly publicize them.

                                                      Sincerely,



                                                      Joseph N. Akrotirianakis




cc: fb.nso@davispolk.com, k&snso@kslaw.com
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                                                                     Aaron S. Craig
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July 26, 2024

VIA EMAIL

Craig Cagney, Esq.
Davis Polk & Wardwell LLP
450 Lexington Avenue
New York, NY 10017

Re:     WhatsApp, LLC, et al. v. NSO Group Technologies Limited et al.

Dear Craig:

        This letter concerns a series of outstanding discovery issues, including some that NSO has
raised for more than a month now. Given the imminent closure of fact discovery, please provide
us with your earliest availability for a videoconference. During that videoconference, please be
prepared to provide WhatsApp’s final position regarding the matters below.

              I.       Facebook and WhatsApp’s Potential Violations of Court Orders

       On July 2, 2024, Greg Andres notified King & Spalding LLP of the possibility that certain
information pertaining to this lawsuit had been posted to a website named Edna Karnaval. Mr.
Andres also inquired if NSO intended to maintain privilege over any potentially authentic
documents. Before NSO could respond, NSO, its                         and King & Spalding LLP all
received nearly identical press inquiries (from several different outlets) regarding materials posted
to Edna Karnaval. The sequence of events strongly suggests that the press inquiries were initiated
based on information provided by your clients.

                  NSO thus requested confirmation by July 15, 2024, that neither the plaintiffs
nor Davis Polk had shared confidential, restricted, or privileged information with any third party.

        To date, the plaintiffs and Davis Polk have refused to provide that confirmation or to
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respond at all. Instead, NSO and King & Spalding recently received notifications that additional
articles may be published—and the inquiries we have received closely track WhatsApp and
Facebook’s talking points in this litigation.

        On our videoconference, please be prepared to provide all of the information requested in
our letter of July 12, 2024. This includes a confirmation that Facebook, WhatsApp, and Davis
Polk have (or have not) shared any confidential, restricted, or privileged information with any third
parties. This includes the use of any designated, highly confidential information to suggest to the
media that the information appearing on Edna Karnaval may be accurate and thus worthy of
investigation. Should you or your clients have violated the stipulated protective order, NSO
reserves all rights. 1

             II.         Plaintiffs’ Objections to NSO’s Fourth Set of Document Requests

        As previously discussed, WhatsApp’s objections to NSO’s Fourth Set of Requests for
Production are improper. On June 27, 2024, we started our conference of counsel as to Plaintiffs’
objections to these requests. After we explained our position, you asked to confer with your client
about them, but we have not heard back from you since. We reiterate our position below.

        First, the source data used to prepare WA-NSO-00017582 (RFP No. 232) is plainly
relevant to numerous issues, including the identification of potential “Target Users” (including
users who have common names), whether those users were associated with criminal and terrorist
activity, whether any affiliated Target Devices were properly and lawfully monitored, whether any
alleged use of WhatsApp’s services was “legal and acceptable” in the relevant jurisdiction,
whether any alleged use of WhatsApp’s services was intended to “harm” WhatsApp users, whether
WhatsApp waived its ability to enforce its terms of service by failing to enforce them against the
very Target Users at issue in this litigation, and whether WhatsApp is entitled to many of the
remedies that it seeks (e.g., punitive damages and equitable relief). The discovery is not limited
to the users identified in The Citizen Lab’s materials. Even if it were, NSO has now provided the
showing of criminal or terrorist connections requested by the Court. (See generally Dkt. No. 314.)
Any objection regarding confidentiality is mooted by the entry of a protective order.

        Second, documents relating to WhatsApp’s own factual allegations (RFP Nos. 233-240)
are plainly relevant. The form and substance of your responses is improper. For example, your
document production does not appear to include any documents showing that Defendants accessed
or used WhatsApp computers located in California (RFP No. 233), or WhatsApp Signalling servers
and Relay servers located in California (RFP No. 234). When we conferred about these requests,
you asked for time to confer with your client. That was a month ago. With respect to Request No.
235, please let us know when WhatsApp intends to produce all of its documents responsive to that
request. With respect to the remaining requests in this series, WhatsApp cannot both object that it
has produced responsive documents and refuse to identify those documents. If you will not agree
to serve supplemental responses and produce responsive documents, or alternatively identify

1   As previously noted in our letter of July 12, 2024, NSO and King & Spalding also reserve all rights for the
    dissemination of information subject to the Israeli gag orders and information subject to any privilege.
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where in Plaintiffs’ document production you contend the responsive documents are located, we
will move to compel further responses.

        Third, requests 241-258 seek information about various efforts by Plaintiffs to provide the
same functionality, either for itself or for others, that NSO provides to its customers. The Facebook
Research App and Project Ghostbusters have been widely reported to have collected data from
Plaintiffs’ users about their activities on other applications without their knowledge. Facebook’s
subsidiary, Onavo, attempted to purchase or license Pegasus from NSO. It has been reported that
the “Tails Exploit” was created by or on behalf of Plaintiffs in order to uncover the identity of
Buster Hernandez aka Brian Kil. The Tails Exploit overcame Mr. Hernandez’s use of Tails and
Tor to discover his IP address (and thus his identity). Plaintiffs’ own monitoring activities cast
doubt on their assertion that Pegasus violates U.S. law, renders inequitable Facebook and
WhatsApp’s assertion of rights against NSO, and makes clear that Pegasus does not warrant an
award of punitive damages or equitable remedies.

           III.        Plaintiffs’ Communications with Law Enforcement

        Plaintiffs have produced a series of documents suggesting that the Federal Bureau of
Investigation, and possibly other federal or state agencies, provided assistance to Plaintiffs in
attributing various monitoring activities to NSO. Accordingly, NSO renews its requests for all of
the plaintiffs’ communications with any state or federal law enforcement agency (RFP Nos. 154,
169) or with any representative of the U.S. government (RFP No. 165-167). Plaintiffs’
confidentiality objections are mooted by the entry of the Stipulated Protective Order, and Plaintiffs
cannot assert privilege because “[v]oluntary disclosure . . . to a third person” and the federal
government’s use of the statements in an “administrative investigation . . . to determine wither
[Defendants were] was guilty of misconduct” destroys privilege and work product protections,
respectively. Griffith v. Davis, 161 F.R.D. 687, 693, 698 (C.D. Cal. 1995).

        Furthermore, Plaintiffs have produced certain documents bearing redactions that purport
to have been made by the FBI. Plaintiffs, however, have failed to produce any sort of log justifying
the redactions. In the absence of any demonstrated standing to assert confidentiality on behalf of
the FBI, the redactions must be removed. See Burton Mech. Contractors, Inc. v. Foreman, 148
F.R.D. 230, 234 (N.D. Ind. 1992).

            IV.        Plaintiffs’ Privilege Log

       NSO requested a privilege log months ago. Plaintiffs represented to the Court, in a filing
dated June 12, 2024, that they intended to produce a full “privilege log covering all documents
from all custodians in the coming weeks.” (Dkt. No. 306 at 5.) It is now six weeks later, and
months after Plaintiffs substantially completed their document production, and still Plaintiffs have
not produced a log justifying any assertion of privilege. Please confirm that Plaintiffs will produce
a complete log within five business days. NSO reserves all rights, including the right to seek
production of all withheld information and documents on the basis of waiver.
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                                    Very truly yours,



                                    Aaron S. Craig

cc:   fb.nso@davispolk.com
      k&snso@kslaw.com
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                                Greg D. Andres                        Davis Polk & Wardwell LLP
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                                greg.andres@davispolk.com             New York, NY 10017




August 2, 2024

Re: WhatsApp LLC v. NSO Group Techs. Ltd, No. 4:19-cv-7123 (PJH) (N.D. Cal.)

Joseph N. Akrotirianakis
King & Spalding LLP
633 West Fifth Street, Suite 1600
Los Angeles, CA 90071

Dear Counsel:

I write on behalf of Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) in response to your letters
of July 12, 2024 and July 26, 2024, and in light of recent reporting on NSO Group’s conduct in connection
with this case. 1

We are not aware of any basis for your continued claims that Plaintiffs violated their legal obligations with
respect to the Edna Karnaval website—and you have not provided any. As you are aware, out of an
abundance of caution



Separately, the independent reporting on these materials raises questions as to whether NSO and its
counsel’s representations to the Court and Plaintiffs in this litigation were accurate, or truthful. According to
The Guardian,




If true, this reporting contradicts a number of responses that NSO has provided to Plaintiffs’ discovery
requests. Specifically, in its responses and objections to Plaintiffs’ first set of requests for admissions,
NSO:




1
  See, e.g., Harry Davis & Stephanie Kirchgaessner, Israel Tried to Frustrate US Lawsuit Over Pegasus Spyware, Leak Suggests, The Guardian (July 25,
2024, 12:00 PM ET), https://www.theguardian.com/news/article/2024/jul/25/israel-tried-to-frustrate-us-lawsuit-over-pegasus-spyware-leak-suggests;
Phineas Rueckert and Karine Pfenniger, Israel Maneuvered to Prevent Disclosure of State Secrets amid WhatsApp vs NSO Lawsuit, Forbidden Stories
(July 25, 2024), https://forbiddenstories.org/actualites_posts/israel-maneuvered-to-prevent-disclosure-of-state-secrets-amid-whatsapp-vs-nso-lawsuit;
Amnesty International Security Lab, Israel: Israel’s Attempt to Sway WhatsApp Case Casts Doubt On Its Ability to Deal with NSO Spyware Cases,
Amnesty International (July 25, 2024), https://securitylab.amnesty.org/latest/2024/07/israels-attempt-to-sway-whatsapp-case-casts-doubt-on-its-ability-to-
deal-with-nso-spyware.
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                       Joseph N. Akrotirianakis




For these reasons, Plaintiffs request that NSO explain the apparent inconsistencies between these recent
reports and NSO’s own representations in this litigation. Plaintiffs also request that NSO supplementits
discovery responses, including the responses listed above, in order to ensure their truthfulness. Plaintiffs
reserve all rights.


                                           You do not claim that the materials posted on the Edna Karnaval
website were leaked by anyone who had received them subject to the limitations in the Stipulated
Protective Order, or indeed, that anyone with possession of them would even be subject to that order, since
they purport to be internal Israeli government documents. Nor have you informed us of any efforts by either
NSO or the State of Israel to recover the documents or take down either the Edna Karnaval website or the
more recent news articles.


                                                                                          . (a) any information
that . . . becomes part of the public domain after its disclosure to a Receiving Party as a result of publication
not involving a violation of this Stipulated Protective Order, including becoming part of the public record
through trial or otherwise.” Dkt. No. 132 § 3. In addition, since you claim that information became public
through no fault of NSO or its counsel, see July 12, 2024 Ltr. from J. Akrotirianakis to G. Andres at 2, it




Accordingly, pursuant to Section 6.2 of the Protective Order




August 2, 2024                                                                                                  2
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                        Joseph N. Akrotirianakis




Plaintiffs will separately respond to the other issues in your July 26, 2024 letter.



Very truly yours,

/s/ Greg D. Andres

Greg D. Andres




August 2, 2024                                                                                         3
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August 15, 2024

VIA EMAIL

Greg D. Andres, Esq.
Davis Polk & Wardwell LLP
450 Lexington Avenue
New York, NY 10017

Re:     WhatsApp, LLC, et al. v. NSO Group Technologies Limited et al.

Dear Greg:

        This letter responds to your letter of August 2 regarding your
                           and Defendants’ responses to Requests for Admission 2-4.

             I.       Confidentiality Challenge

        You have not identified with particularity the documents you assert you are challenging.

                                                            The Protective Order requires that a
Challenging Party “provide written notice of each designation it is challenging.” To properly
invoke Paragraph 6.2, please provide such notice by reference to the specific documents you intend
to challenge so we can evaluate them in the manner contemplated by the Protective Order.

       If you identify with particularity the documents to which you are challenging the
confidentiality designation, we would be happy to meet and confer with you about those
documents on a document-by-document basis contemplated by the Protective Order.
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            II.        Requests for Admission Nos. 2-4

        We have reviewed our responses to Requests for Admission Nos. 2-4, and we do not
believe our responses to these Requests require supplementation. They are, moreover, totally
irrelevant to any claim or defense. If Plaintiffs believe that these responses are inaccurate, their
sole remedy is prescribed by Rule 37(c)(2). Because the Federal Rules of Civil Procedure do not
provide for a motion to compel further responses to requests for admission, we see no need for a
conference of counsel about this issue. We are, however, willing to confer with you if you insist
on such a time-wasting exercise. If you do, please appear personally for it.

                                              Very truly yours,



                                              Aaron S. Craig

cc:    fb.nso@davispolk.com
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                                                    davispolk.com




August 26, 2024

Re: WhatsApp, LLC, et al. v. NSO Group Techs. Ltd. et al., 4:19-cv-7123 (N.D. Cal.)

Aaron Craig
King & Spalding LLP
633 West Fifth Street, Suite 1600
Los Angeles, CA 90071

Dear Aaron,

We are contacting you again about productions you recently made in this case and your apparent refusal to
meet and confer about them.




Second, we received NSO’s document productions since Friday. While we are still reviewing those
productions and reserve all rights, including with respect to timing, we write to address the portions of the
cover letters for these productions that state that




NSO cannot escape its discovery obligations by shifting its discovery burdens to others.




                                                                                            . In its November
15, 2023 Order Denying NSO’s Motion for a Protective Order, the Court made clear that

                                                                       (Dkt. No. 233 at 10), and in its Febuary
23, 2024 Order, it compelled NSO to produce documents regarding the full functionality of all Relevant
Spyware, among others. (Dkt. No. 292). The Court confirmed in its August 1, 2024 Order that “the
previous order’s reference to ‘full functionality’ was indeed intended to require NSO to produce Pegasus
computer code,” despite NSO’s contention that
                              and “order[ed] production of that code under Richmark, as the information is
sufficiently important and specific to require production despite the existence of foreign legal
restrictions.” (Dkt. No. 358 at 6).

Please confirm whether NSO has produced these materials to Plaintiffs                          in a way that
makes them available to everyone authorized to view material under the Protective Order, including
Plaintiffs’ Experts, as well as the court reporters, videographers and translators necessary for use in the
depositions of NSO’s witnesses beginning tomorrow in London. In addition, please confirm whether NSO
has produced these materials to Plaintiffs in a manner that permits them to be used in the depositions
beginning tomorrow (which we expect will include a reporter, videographer and translator); as evidence
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                                                                                                      DRAFT



before a jury in Oakland, California; and for all other purposes in the litigation, subject to the terms of the
Protective Order.

Finally, the productions we have received contain numerous redactions described as being for either “PII,”
“Per Court Order,” or “Export Controlled.” Please clarify whether these redactions are for privilege, or else
explain the basis for these redactions, including which court permits each redaction.

We are available to meet and confer on these topics tomorrow. If NSO does not confirm by tomorrow that
the materials described above can be shared and used for all purposes in this litigation,
                                               their U.S. litigation counsel, their Experts, and the Court,
Plaintiffs will seek the Court’s intervention.

Very truly yours,

/s/ Craig T. Cagney

Craig T. Cagney




August 26, 2024                                                                                                   2
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September 20, 2024

VIA EMAIL
Craig Cagney, Esq.
Davis Polk and Wardwell LLP
450 Lexington Avenue
New York, NY 10017

Re:     WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH

Dear Counsel:

        I am in receipt of your letter served after the close of business on September 12, 2024. In
it, you demanded, on the following day: production of three categories of documents; removal of
PII redactions from previously produced documents; removal of PII redactions; removal of expert
control redactions; removal of redactions safeguarding the identity of NSO’s customers;
production of a log of redactions; agreement to a stipulation to expand the relevant discovery time
period from the current 24.5 months to over seven years; agreement to provide additional 30(b)(6)
testimony; agreement to treat witnesses’ answers made in their individual capacity as answers of
Defendants; confirmation whether Defendants will make its witnesses available again; and
supplemental or amended responses to six requests for admission.

       I am unable to address your requests about depositions in this letter (Sections VI and VII
of your letter), but I will endeavor to respond to your other requests herein.

        Production of Discovery in Israel

        To the extent Defendants’ production of the code from the Amazon Web Server, made to
Plaintiffs’ counsel of record in Israel on August 23, 2024, has not been provided to you, that would
be because Plaintiffs have failed to obtain an export license from GOI, despite ample notice they
would need to do so. No Court orders specified any required place of production, and Defendants
produced the highly-regulated and export-controlled Amazon Web Server code to Plaintiffs’
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counsel of record in the only place Defendants were lawfully permitted to do so. Defendants note
that nothing has prevented Plaintiffs from hiring an expert in Israel to review the production.

       Moreover, this issue was caused entirely by Plaintiffs’ decision to file this lawsuit in the
United States--instead of in Israel where personal jurisdiction is proper and where the case plainly
belongs. When Plaintiffs successfully opposed Defendants’ motion to dismiss for forum non
conveniens, they did so by persuading the Court that all the core evidence Plaintiffs needed to
prove their allegations was located in the United States.

       NSO’s Document Productions

         It appears that the parties’ fundamental dispute relates to Plaintiffs having forgotten their
reframing of their document requests in advance of the motion to compel that the Court granted in
part. For example, RFP No. 1 was narrowed to read “Documents and Communications sufficient
to show NSO’s development, testing, deployment, installation, distribution, use, maintenance,
troubleshooting and/or operation” of Pegasus. RFP No. 3 was likewise narrowed to read
“Documents and Communications sufficient to show how NSO intended for or permitted third
parties to use” Pegasus, “including but not limited to marketing materials, licensing agreements,
user complaints, training manuals or documents.” Defendants’ counsel traveled to Israel to conduct
targeted document searches together with Defendants, and Defendants subsequently produced
documents sufficient to show every element of every request the Court ordered Defendants to
produce: development, testing, deployment, installation, distribution, use, maintenance,
troubleshooting, operation, marketing materials, licensing agreements, and training materials. The
tens of thousands of pages produced by Defendants amply comply with the Court’s orders and
Defendants’ RFP responses. In sum, Defendants’ productions are more than sufficient to show
the full functionality of Pegasus, even independent of the Defendants’ production of Pegasus code
nearly a month ago.

        Defendants’ price lists are completely irrelevant to any issue in the case. With respect to
Plaintiffs’ claim for disgorgement, Defendants have provided Plaintiffs with the actual revenues
associated with each of their contracts for each of their products. Price lists, which bear little if
any resemblance to the prices actually paid by Defendants’ customers, are not relevant to
Plaintiffs’ claims for disgorgement. Moreover, disgorgement of profits is not an issue to be tried
to the jury. If Plaintiffs are somehow able to establish personal jurisdiction over Defendants,
prevail on their claims, and persuade the Court that disgorgement of profits is a proper remedy in
spite of Plaintiffs’ simultaneous request for legal remedies, the Court can determine the need for
additional discovery at that time.

       Redactions in Defendants’ Documents

       Defendants have provided an overlay with respect to any PII redactions that were
inadvertently added by document analysts. Defendants agree that NSO-controlled test phone
numbers are not PII. On September 13, you were provided un-redacted versions of
NSO_WHATSAPP_00012913 and NSO_WHATSAPP_00044814. Phone numbers and other
information that identifies individuals who bear no relevance to any issue in the case may have
been properly redacted from a handful of documents, as is customary.
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HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY

       Defendants provided export-controlled redactions because




        Please provide legal authority for the proposition, implicit in your letter, that a log of
redactions is required.

       NSO’s Privilege Log

         NSO’s privilege log is complete. NSO is not withholding any other documents on the basis
of the attorney-client or work-product privilege. We are not required to disclose to you the
methodology by which Defendants conducted the searches that have resulted in producing the over
45,000 pages of technical, marketing, and financial documents produced to Plaintiffs in the
litigation to date.

       Relevant Time Period of Discovery

       We disagree with your interpretation of Mr. Gazneli’s testimony; nowhere did he testify
that NSO deployed any installation vector that involved WhatsApp in 2017. In any event, the
discovery period has passed, and Defendants will oppose Plaintiffs’ attempt to deploy their
unlimited resources to prolong the litigation in an attempt to win it by attrition.

       Responses to Requests for Admission

        Requests for Admission 6-8 fall outside of the relevant time period, and Defendants
properly objected to them on that basis (and others). Requests 34 and 35 ask Defendants
information about the activities of Westbridge and Mr. Shaner that fall outside the knowledge of
Defendants, as was reflected in Defendants’ responses. Finally, with respect to Request for
Admission 38, the Court’s August 1, 2024, Order directed NSO to amend their responses to ensure
that they contain all the updated information that was provided in NSO’s opposition brief. On
August 22, 2024, NSO amended its responses to requests for admission 45-52 to comply with the
Court’s Order. Defendant’s Amended Response to Request No. 47 sets forth Defendants’
information on the subject of Request for Admission No. 38.

                                             Very truly yours,



                                             Aaron S. Craig

cc:    fb.nso@davispolk.com, k&snso@kslaw.com
